                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :       Case No. 1:22-CR-00166-BAH
                                             :
JOHN GEORGE TODD III,                        :
                                             :
               Defendant.                    :

              UNOPPOSED MOTION FOR EXCLUSION OF TIME UNDER
                          THE SPEEDY TRIAL ACT

       The United States of America, by and through the United States Attorney for the District

of Columbia, without opposition from defendant John George Todd III (“defendant”), moves the

Court to exclude time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., and in support thereof

shows unto the Court:

       Defendant is before the Court charged in an information with several offenses, including:

Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18, United States

Code, § 1752(a)(1); Disorderly and Disruptive Conduct in a Restricted Building, in violation of

Title 18, United States Code, § 1752(a)(2); Disorderly and Disruptive Conduct in a Capitol

Building or Grounds, in violation of Title 40, United States Code, § 5104(e)(2)(D); and Parading,

Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United States Code, §

5104(e)(2)(G). ECF No. 6.

       On September 30, 2022, defendant filed a sealed motion to continue the November 14,

2022, trial. ECF No. 28. On October 1, 2022, government counsel and counsel for defendant

conferred regarding the sealed motion. When alerted to the fact that the sealed motion did not

contain a waiver of speedy trial, counsel for defendant agreed to waive speedy trial. On October
6, 2022, the Court ordered pretrial services and defendant to update the Court regarding

defendant’s situation to determine whether trial could commence on November 14, 2022.

        On October 12, 2022, pretrial services filed a report and defendant filed a status report as

directed by the Court. ECF Nos. 30-31. Defendant noted in the status report that defendant agreed

to waive speedy trial. ECF No. 31 at ¶ 7. Thereafter, the Court issued a minute order terminating

the October 28, 2022 deadline to file the Joint Pretrial Statement, the November 4, 2022 pretrial

conference, and the November 14, 2022 trial date. The Court also directed the parties to appear

via video for a status conference on November 4, 2022. The Court’s minute order did not reference

excluding time under the Speedy Trial Act.

        Based on the situation that caused the need for the continuance and defendant’s prior

concurrence to waive speedy trial, it is in the interest of justice to toll the Speedy Trial Act pursuant

to 18 U.S.C. § 3161(h)(7)(A). Therefore, the government request that the Court issue an order

tolling the Speedy Trial Act from September 28, 2022, to November 4, 2022.

                                                Respectfully submitted,

                                                MATTHEW M. GRAVES
                                                United States Attorney
                                                D.C. Bar No. 481052


                                        By:     /s/ Michael G. James
                                                MICHAEL G. JAMES
                                                Assistant United States Attorney
                                                N.Y. Reg. No. 2481414
                                                Office of the United States Attorney
                                                Eastern District of North Carolina
                                                (on detail to the USAO-DC)
                                                150 Fayetteville Street, Suite 2100
                                                Raleigh, NC 27601
                                                Mike.James@usdoj.gov
                                                Telephone: (919) 856-4530

                                                   2
